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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

UNITED STATES OF AMERICA,

Plaintiff,

)
)
)
)
Vv. ) Civil Action No. 3:23-cv-763—HEH
)
CHAMELEON LLC and )
GARY V. LAYNE, )
)
Defendants. )

ORDER
(Granting Motion to Withdraw as Counsel)

THIS MATTER is before the Court on the United States’ Motion to Withdraw
Amanda V. Lineberry as counsel of record (the “Motion to Withdraw,” ECF No. 75),
filed on March 3, 2025. Ms. Lineberry states that she will be leaving her employment
with the U.S. Department of Justice on March 7, 2025. (Mot. at 1.) The United States
will continue to be represented by the others listed as counsel of record. (/d.) Therefore,
upon due consideration, the Motion to Withdraw is GRANTED. Amanda V. Lineberry is
hereby RELIEVED as counsel in this matter.

The Clerk is DIRECTED to send a copy of this Order to all counsel of record.

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Henry E. Hudson
Senior United States District Judge

It is so ORDERED.

Date: M ovech 5 2625

Richmond, Virginia
